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Proposed Attorneys for the Chapter 7 Trustee


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
In re:

SCOUT MEDIA, INC. et al, 1                                                     Chapter 7 (Converted)

                                                                               Case No. 16-13369-MEW
                                             Debtors.
---------------------------------------------------------------X
                      AMENDED APPLICATION OF CHAPTER 7 TRUSTEE
            TO RETAIN GOTTLIEB & JANEY LLP AS SUBSTITUTE COUNSEL

TO      THE HONORABLE MICHAEL E. WILES
        UNITED STATES BANKRUPTCY JUDGE:

        Upon the amended application (the “Application”) of Ian J. Gazes, chapter 7 trustee (the

“Trustee”) of the jointly administered estates of Scout Media Holdings, Inc. (“SMHI”), Scout

Media, Inc (“SMI”), FTFS Acquisition, LLC (“FTFS”), and Scout.com, LLC. (“Scout” and

collectively with SMHI, SMI, and FTFS the “Debtors”) for an order, substantially in the form

attached as Exhibit “A”, authorizing the Trustee to retain Gottlieb & Janey LLP (the “Firm”) as

substitute counsel to the Trustee, effective as of August 6, 2018, the Trustee respectfully states as

follows:




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 The Debtors in these jointly administered cases are: Scout Media Holdings, Inc.; Scout Media, Inc.; FTFS
Acquisition, LLC; and Scout.com, LLC.


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      I. JURISDICTION, VENUE AND STATUTORY PREDICATES FOR RELIEF

       1.      This Court has jurisdiction over this matter under sections 157(a), (b)(1) of title

28 of the United States Code, 28 U.S.C. §§ 157(a), (b)(1), and 1334(b), and the Amended Stating

Order of Reference of the United States District Court for the Southern District of New York.

Consideration of this Application is a core proceeding under section 157(b)(2)(A) of title 28 of

the United States Code. See 28 U.S.C. §§ 157(b)(2)(A).

       2.      Venue of this case in this district is proper under section 1408 of title 28 of the

United States Code. See 28 U.S.C. § 1408.

       3.      The statutory provisions governing the relief requested in this Application are

sections 327(a) of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy

Code”), Rule 2014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Rule 2014-1 of the Local Rules of the United States Bankruptcy Court for the Southern District of

New York (the “Local Rules”).

                                      II. BACKGROUND

       4.      On December 1, 2016, LSC Communications, Inc., f/d/b/a R.R. Donnelley &

Sons Co., On Safari Foods, and Imatch Services, LLC, filed an involuntary petition against SMI.

       5.      On December 9, 2016, SMHI, FTFS and Scout filed petitions for relief under

chapter 11 of the Bankruptcy Code.

       6.      On December 12, 2016, the Court entered an order directing the joint

administration of the Debtors’ chapter 11 cases [Doc. No. 33].

       7.      On July 14, 2017, the Court entered an order converting the Debtors' chapter 11

cases to cases under chapter 7 [Doc. No. 351].




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          8.    On August 2, 2017, the Office of the United States Trustee appointed the Trustee

to serve as interim trustee [Doc. No. 357]. The Trustee has duly qualified and now serves as the

permanent trustee pursuant to section 702(d) of the Bankruptcy Code.

          9.    Upon information and belief, the Debtors’ pre-petition business centered on the

operation of a digital sports media network.

          10.   By order October 3, 2017, the Court authorized the Trustee to retain Gazes LLC

(“Gazes”) as his attorneys nunc pro tunc to August 9, 2017 [Doc. No. 364].

                                      III. RELIEF SOUGHT

          11.   Applicant seeks a court order, substantially in the form attached here as Exhibit

“A”, authorizing the Trustee to retain the Firm as his substitute counsel effective as of August 6,

2018 pursuant to sections 327(a) of the Bankruptcy Code. 11 U.S.C. §§ 327(a).

          12.   A trustee may, with the court’s approval, employ one or more attorneys “that do

not hold or represent an interest adverse to the estate, and that are disinterested persons, to

represent or assist the trustee in carrying out the trustee’s duties under this title.” 11 U.S.C. §

327(a).

          13.   Applicant believes that the Firm is qualified to act as counsel to the Trustee in

connection with all legal matters concerning the Debtor’s estate. The Firm is comprised of

attorneys who are duly admitted to practice law before the bar of this Court. Among other

competencies, the Firm has substantial experience appearing before the Bankruptcy Court for the

Southern District of New York on a range of bankruptcy issues, particularly over the past 5 years.

Moreover, the Firm has recently hired a person who has specifically worked as a bankruptcy

attorney for the Trustee’s own law firm, Gazes LLC, for nearly 8 years and who is personally

familiar with facts and legal issues relevant to the Debtors’ cases. Its attorneys possess experience




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in the bankruptcy arena. The Firm represents and has represented chapter 7 trustees, as well as

debtors in chapter 11 cases. Such matters included instances where the Firm has represented

chapter 7 trustees in matters that have proceeded to trial in both Bankruptcy Court and in state court

proceedings.

       14.     The Trustee will need the assistance of counsel to analyze the Debtors’ financial

affairs, prosecute any chapter 5 avoidance actions, determine what assets if any are available for

liquidation to fund a distribution to creditors, and assist the Trustee in determining whether to

retain additional professionals such as accountants and custodians.

       15.     To the best of the Trustee’s knowledge and except as set forth herein, the Firm

and the employees of the Firm do not hold or represent any interest adverse to the Debtors’

estates and creditors by reason of the retention sought herein and have no connection with the

Debtors, their creditors or any other parties in interest or their respective attorneys in this matter.

With Court approval, the Trustee has retained the Firm in several other chapter 7 cases. An

affirmation (the “Affirmation”) of disinterest executed by Derrelle M. Janey, a partner at

Gottlieb & Janey LLP, is annexed hereto as Exhibit “B”.

       16.     Based on the above, Applicant believes that the Firm is a “disinterested person”,

within the meaning of section 101(14) of the Bankruptcy Code. 11 U.S.C. § 101(14).

       17.     The Firm will charge for services rendered to the Trustee at the Firm’s standard

hourly rates plus expenses, provided, however, that travel time shall be billed at one half the hour

rates. The Firm will make application for payment of legal fees and reimbursement of expenses

as set forth herein pursuant to the terms and provisions of the Bankruptcy Code, the Federal

Rules of Bankruptcy Procedure, the Local Rules of this Court and United States Trustee

Guidelines pertaining to the payment of retained professionals. The Firm will maintain detailed




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records describing the services rendered on behalf of the Trustee. Currently the Firm’s hourly

fees are as follows:

                Partners                        $850.00 per hour

                Counsel                         $650 per hour

                Associates                      $550 to $450 per hour

                Paraprofessional Staff          $200.00 per hour

The Firm agrees to advise the United States Trustee and the Court by letter if the Firm’s hourly

fees increase, which traditionally occurs every year.

        18.     No previous application for the relief sought herein has been made to this or any

other court.

        19.     Therefore, Applicant respectfully submits that (i) the Firm is qualified to act as

counsel under section 327(a) of the Bankruptcy Code, 11 U.S.C. § 327(a) (d), (ii) such retention

is in the best interest of the Debtors’ estates, (iii) the Firm is a “disinterested person” within the

meaning of section 101(14) of the Bankruptcy Code, 11 U.S.C. §101(14), and (iv) the Firm does

not hold or represent an interest adverse to the Debtors’ estates.

                                            IV. NOTICE

        20.     A request for entry of an order approving a trustee’s employment of a

professional under section 327 of the Bankruptcy Code may be made by filing an ex parte

application with a copy transmitted to the United States Trustee. 11 U.S.C. § 327; Fed. R.

Bankr. P. 2014(a); 9 Collier on Bankruptcy (15th Ed. 2001), ¶ 2014.02 at 1. Neither notice to the

debtor or a hearing on the application is required. See 9 Collier on Bankruptcy, ¶ 2014.02 at 1, at

n.4 (citing In re Arochem Corp., 181 B.R. 693, 696 (Bankr. D. Ct. 1995)).




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       21.     The Trustee has provided advance notice of this Application to the Office of the

United States Trustee. Because of the nature of the relief requested, the Trustee respectfully

submits that no hearing is required, and no further notice of the relief requested in this

Application need be given.

       WHEREFORE, Trustee respectfully requests entry of an order of this Court authorizing

the Trustee to retain the Firm as counsel under a general retainer, effective as of August 6, 2018,

and for such other and different relief as this Court may deem just and proper.

Dated: New York, New York
       July 30, 2018
                                               GAZES LLC

                                               By:__/s/ Ian J. Gazes________
                                                       Ian J. Gazes
                                               151 Hudson Street
                                               New York, New York 10013
                                               (212) 765-9000

                                               Chapter 7 Trustee




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